Case 3:10-cv-01138-PGS-LHG Document 315 Filed 05/23/22 Page 1 of 2 PageID: 13338




         UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT

                                                                       DCO-057
                                       No. 22-8011

               SAM HARGROVE; ANDRE HALL; MARCO EUSEBIO,
                Individually and on behalf of all others similarly situated

                                            v.

                                    SLEEPY'S LLC,
                                             Petitioner

                                            v.

     CURVA TRUCKING LLC; EUSEBIOS TRUCKING CORP; I STEALTH LLC;
     HC TRUCKING LLC; ALS TRUCKING, INC.; ALS TRUCK DELIVERY LLC;
        UTILA TRANSPORT, INC.; E-MAK LLC; EMAK TRANSPORT, INC.;
        EMAK TRANSPORT; A&P TRUCKING LLC; DJG TRANSPORT LLC;
             AL TRANSPORT SERVICES CORP.; A.C. BAUTISTA LLC;
              FB LOGISTICS CORP.; GD DELIVERY SERVICES LLC;
           RAAN TRANSPORT LLC; JONATHAN LLC; JONATHAN'S LLC;
     S.O. TRUCKING LLC; SIX STARS TRUCKING LLC; MSF TRUCKING LLC;
       RKC DELIVERY LLC; GEORGIAN SHIELD INC.; WR TRUCKING LLC

                               (D.N.J. No. 3-10-cv-01138)

  Present: JORDAN, PORTER, and MATEY, Circuit Judges

       1. Petition for Leave to Appeal pursuant to Fed. R. Civ. P. 23(f) by Petitioner
          Sleepys LLC;

       2. Response by Respondents Marco Eusebio, Andre Hall, and Sam Hargrove in
          opposition to petition.

                                                       Respectfully,
                                                       Clerk/lmr

  _________________________________ORDER________________________________
  The foregoing Petition for Leave is GRANTED.
Case 3:10-cv-01138-PGS-LHG Document 315 Filed 05/23/22 Page 2 of 2 PageID: 13339




                                           By the Court,

                                           s/David J. Porter
                                           Circuit Judge

  Dated: May 23, 2022
  Lmr/cc: All Counsel of Record




                                       A True Copy :



                                            Patricia S. Dodszuweit, Clerk
